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Fu.lNc FEE PAn)
Yes No \/
lFP`MonNFII;Eo
BlLJl vARGHESE Yes \/No
NAME coPlEs sEN'r To
F-22424 `/ k
PRlsoN NUMBER C°“"._.. PNS¢._… F L E D
Centine|a State Prison " "
P. O. Box 911

nec 1'0 2009

CuRRENT ADDRESS oR PLACE oF CoNFINEMENT

 

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CrTv, STATE, ZlP CoDF. BY DEPUTY

 

 

 

UNITED STATES DISTRICT CoURT
SoUTHERN DISTRICT OF CALIFoRNlA

PARAKKAMANN|L KOSHY BlLJ| VARGHESE

, ~… .MML\N@

(FULL NAME OF PET|TIONER) (To ma FrLLF.n lN BY CLF.RK oF U.S. Dls'mlcr CouRT)

PETlTloNER

V.

DOM|NGO UR|BE, JR., Wardenl ’

(NAME OF WARDEN. SUPERINTF.NDENT, JA|LOR, OR AUTHOR!ZED PET|T|ON FOR WR|T OF HABEAS CORPUS
PERSON HAV|NG CUSTOI)Y OF PET|TIONER [E.G., DIRECTOR OF THE

CAL|FORNIA DEFARTMF.NT OF CORRECT|ONS])

REsPoNl)ENT uNDER 28 U.S.C. § 2254
and BY A PERSON 1N STATE CUSToDY

EDMOND G. BROWN. JR.

The Attorney General of the State of
California, Additional Respondent.

 

 

l. Name and location of the court that entered the judgment of conviction under attack:
San Diego County Superior Court, San Diegol CA

2. Date of judgment of conviction: April 10, 2006

3. Trial court case number of the judgment of conviction being challenged:
SCD187180

4. Length of sentencer 26 years to life

ClV 68 (Rcv. Jan. 2006)
cv

 

 

 

 

 

 

Case 3:09-cv-02801-WQH-WVG Documentl Filed12/10/09 Page|D.Z PageZof 15

 

5_ Sentence start date and projected release date: April 10, 2006. No projected release date.

6_ Of’f`ense(s) for which you were convicted or pleaded guilty ( all counts):
First degree murder.

7’ What was your plea? (CHECK oNE)
(a) NOt guilty §§l
(b) Guilty llll
(c) Nolo contendere l;l
8_ lf you pleaded not guilty, what kind of trial did you have? (CHECK oNE)

(a) Jury i..>:ll

(b) Judge only int

9 Did you testify at the trial?
i;;iiYes lz.<l NO

DIRECT APPEAL
10. Did you appeal from the judgment of conviction in the California Court of AnDeal?
i§éil Y@S 'i NO

11. lf you appealed in the California Court of Anneal, answer the following:
(a) ReSultZ Judgment affirmed

(b) Date of result (if known): May 8, 2008

(c) Case number and citation (if known): D048456

(d) Names of Judges participating in case (it`known):
Benke, McDonald, |rion

(e) Grounds raised on direct appeal:

1.- Error in denying defense requests to allow a defense expert to test DNA found in victim's residence
without being required to provide the test results to the prosecutor unless the defense expert testified 2.
Error in denying Fourth Amendment motion to suppress evidence.

12_ If you sought further direct review of the decision on appeal by the California Supreme
Court (e.g., a Petition for Review), please answer the following:
(a) ReSult! Review denied.
(b) Date of result (it` known): August 20, 2008

(c) Case number and citation (ifknown):
8164434

(d) Grounds raised:

1. Error in denying defense requests to allow a defense expert to test DNA found in victim's residence
without being required to provide the test results to the prosecutor unless the defense expert testified 2.
Error in denying Fourth Amendment motion to suppress evidence. '

ClV 68 (Rev. Jun. 2006)

 

 

 

 

» Case 3:09-cv-02801-WQH-WVG Documentl Filed12/10/09 Page|D.S PageSof 15

 

13. lf you filed a petition for certiorari in the United States Supreme Court, please answer the
following with respect to that petition:
(a) Result: Certiorari denied.
(b) Date of result (ifknown): January 21, 2009
(c) Case number and citation (if known):
No. 08-7316, 129 S.Ct. 1012l 173 L.Ed.2d 304

(d) Grounds raised:

1. Denia| of defense requests to allow a defense expert to test DNA found in victim's residence without
being required t_o provide the test results to the prosecutor violated petitioners Sixth Amendment right to
counsel and Fourteenth Amendment right to due process of |aw. 2. Error in denying Fourth Amendment
motion to suppress evidence.

COLLATERAL REVIEW lN STATE COURT

14. Other than a direct appeal from the judgment of conviction and sentence, have you previously
filed any petitions, applications, or motions (e.g., a Petition for Writ of Habeas Corpus) with
respect to this judgment in the California Superior Court?

:§;lY€S l><fi NO

15_ If your answer to #14 was “Yes,” give the following information:

- (a) California Superior Court Case Number (ifknown):
(b) Nature ofproceeding:

(c) Grounds raised:

(d) Did you receive an evidentiary hearing on your petition, application or motion?
Yes No

(e) Result:
(f) Date of result (ifknown):

16_ Other than a direct appeal from the judgment of conviction and sentence, have you previously

filed any petitions, applications, or motions (e.g., a Petition for Writ of Habeas Corpus) with
respect to this judgment in the California Court of Am)eal?
ll;iY€S lXi NO

ClV 68 (Rev..lnii.2006)

 

 

 

 

\ Case 3:09-cV-02801-WQH-WVG Documentl Filed12/10/09 Page|D.4 Page4of 15

 

17. It` your answer to #16 was “Yes,” give the following information:

(a) California Court of Appeal Case Number (if known):
(b) Nature of proceeding:

(c) Names ofJudges participating in case (if known)

(d) Grounds raised:

(e) Did you receive an evidentiary hearing on your petition, application or motion‘?
Yes No

(f) Result:
(g) Date of result (if known):

18. Other than a direct appeal from thejudgment of conviction and sentence, have you
previously t`iled any petitions, applications, or motions (e.g., a Petition for Writ of l-labeas
Corpus) with respect to thisjudgment in the California Supreme Court?

WlYeS §>.§l NO

a

19. l_f your answer to #18 was “Yes,” give the following information:

(a) California Supreme Court Case Number (if known):
(b) Nature of proceeding:

(c) Grounds raised:

(d) Did you receive an evidentiary hearing on your petition, application or motion?
Yes No

(e) Result:
(t) Date of result (if known):

ClV 68 (Rev. Jan. 2006)

 

 

 

 

 

 

 

Case 3:09-cv-02801-WQH-WVG Documentl Filed12/10/09 Page|D.B PageBof 15

 

20. _ if you did not file a petition, application or motion (e.g., a Petition for Review or a Petition
for Writ of Habeas Corpus) with the lifomi u r e Co rt containing the grounds
raised in this federal Petition, explain briefly why you did not:

COLLATERAL REVIEW IN FEDERAL COUR'I`

21. ls this your first federal petition for writ of habeas corpus challenging this conviction?
li?.‘il Y€S l..;i NO (lF “YES” Si<iP To #22)
(a) If no, in what federal court was the prior action liled?
(i) What was the prior case number?
(ii) Was the prior action (CHECK ONE):
Denied on the merits?
Dismissed for procedural reasons?
(iii) Date of decision:
(b) Were any of the issues in this current petition also raised in the prior federal petition?
Yes No
(c) If the prior case was denied on the merits, has the Ninth Circuit Court of Appeals given

you permission to file this second or successive petition?
’Yes No

 

CAuTioN;

0 Exhaustion of State Court Remedies: ln order to proceed in federal court you must
ordinarily first exhaust your state court remedies as to each ground on which you request
action by the federal court This means that even if you have exhausted some grounds by
raising them before the California Supreme Court, you must first present all other grounds
to the California Supreme Court before raising them in your federal Petition,

0 Single Petition: If you fail to set forth all grounds in this Petition challenging a specific
judgment, you may be barred from presenting additional grounds challenging the same
judgment at a later date.

0 F actual Specificity: You must state facts, not conclusions, in support of your grounds. F or

example, if you are claiming incompetence of counsel you must state facts specifically setting
forth what your attorney did or failed to do. A rule of thumb to follow is _ state who did
exactly what to violate your federal constitutional rights at what time or place.

ClV 68 (Rev. .luii. 2006)

 

 

 

 

 

Case 3:09-cv-02801-WQH-WVG Documentl Filed12/10/09 PagelD.€ Page€of 15

 

GROUNDS FOR RELIEF

22. State concisely every ground on which you claim that you are being held in violation of
the constitution, law or treaties of the United States. Summarize briefly the facts
supporting each ground. (e.g. what happened during the state proceedings that you contend
resulted in a violation of the constitution, law or treaties of the United States.) lfnecessary,
you may attach pages stating additional grounds and/or facts supporting each ground.

(a) Git<)i;i\i) Oi\'ii..

Tria| court violated petitioners Sixth Amendment right to counsel and Fourteenth Amendment right to due
process of law when it allowed petitioner to have a defense expert test DNA evidence only on condition that
petitioner turn over to the prosecution the results of that testing even if the defense expert did not testify at tria|.

Supporting FACTS:

The key piece of prosecution evidence connecting petitioner to the offense was a small sample of blood
containing DNA that was consistent with petitioners DNA. After the prosecutor tested the blood, enough was left
for one more test. Defense counsel asked to have the blood released to a defense expert for testing without
having to disclose to the prosecutor the results of the testing unless the defense called the expert to testify. The
trial court ruled that the defense could have its expert test the blood only if it revealed the result of the test to the
prosecution even though the prosecution expert who tested the blood said the test he conducted was valid and
there was no need for him to conduct another test. The Court of Appeal held the trial court did not err.

Petitioner argued the issue at length in his briefing. The arguments on this point appear at pages 22-36 of the
opening brief, 1-23 of the reply brief, 1-10 of the petition for rehearing, 5-18 of the petition for reviewl and 17-32 of
the petition for certiorari. Petitioner respectfully asks the Court to review the argument there presented

The Sixth Amendment aspect of the argument stems from Powell v. A|abama, 287 U.S. 45, 71 (1932)l where
the Court'stated that the right to counsel is meaningless if counsel is required to act "under such circumstances as
to preclude the giving of effective aid in the preparation and trial of the case." Under Powell. “[a] fundamental part
of the right to counsel is that the defendants attorney “must be afforded a reasonable opportunity to prepare for
tria|" and "[t]o make that right effective, counsel is obviously entitled to the aid of such expert assistance as he may
need . . . in preparing the defense." ln re Ochsel 38 Cal.2d 230, 231 (1951). The the Sixth Amendment right to
the assistance of counsel “includes the right to the use of experts . . . that will assist counsel in preparing a
defense" and "also includes the right to have any communications made to experts remain confidential." Torres v.
Municipal Court, 50 Cal.App.3d 778, 783-84 (1975); see also State v. Mingo, 392 A.2d 590, 592-95 (N.J. 1978);
Mason v. Arizonal 504 F.2d 1345, 1351 (9th Cir. 1974).

The due process aspect of the argument stems from Ake v. Oklahoma, 470 U.S. 68 (1985) and from Barnard v.
Henderson, 514 F.2d 744l 746 (5th Cir. 1975), which states: "Fundamental fairness ls violated when a criminal
defendant on trial for his liberty is denied the opportunity to have an expert of his choosing, bound by appropriate
safeguards imposed by the Court, examine a piece of critical evidence whose nature is subject to varying expert
opinion.“

Did you raise GROUND ONE in the California Supreme Court?
If yes, answer the following:
(l) Nature of proceeding (i.e., petition for review, habeas petition): petition for review
(2) Case number or citation: 8164434

(3) Result (attach a copy of the court’s opinion or order if available):
Review denied

ClV 68 (Rev. Jan. 2006)

 

 

 

 

Case 3:09-cv-02801-WQH-WVG Documentl Filed12/10/09 PagelD.? Page?of 15

 

 

 

(b) Gi<r)i;i\'i) 'l`\\'<').

Suni)ortine FACTS:

Did you raise GRouNi) Two in the California Supreme Court?

 

If yes, answer the following:
(l) Nature of proceeding (i.e., petition for review, habeas petition):
(2) Case number or citation:

(3) Result ( attach a copy of the court’s opinion or order if available):

ClV 68 (Rev. Jan. 2006)

 

 

 

 

 

Case 3:09-cv-02801-WQH-WVG Documentl Filed12/10/09 PagelD.S PageSof 15

 

 

 

(c) Giu')i;i\'i)'l`iii<i;iz:.

Supporting FACTS:

Did you raise GROUND THREE in the California Supreme Court?
i:liY@S ial NO-
lf yes, answer the following:
(l) Nature of proceeding (i.e., petition for review, habeas petition):
(2) Case number or citation:

(3) Result (attach a copy of the court’s opinion or order if available):

ClV 68 (Rev. lani 2006)

 

 

 

Case 3:09-cv-02801-WQH-WVG Documentl Filed12/10/09 PagelD.Q Pagerf 15

 

 

 

(d)l C iui) i; i\‘ i) |"r') i,: ii

Supporting FACTS:

Did you raise GROUND FOUR in the Calit`ornia Supreme Court?
fill Yes §liNO.

lf yes, answer the following:
(1) Nature of proceeding (i.e., petition for review, habeas petition):
(2) Case number or citation:

(3) Result ( attach a copy of the court’s opinion or order if availablel:

ClV 68 (Rev..lun.ZOO())

 

 

 

 

Case 3:09-cV-02801-WQH-WVG Documentl Filed12/10/09 PagelD.lO Page 10 of 15

 

23. Do you have any petition or appeal now pending in any court, either state or federal, pertain-
ing to the judgment under attack?
illilYes l;):<ll No

24. lf your answer to #23 is “Yes,” give the following information:
(a) Name of Court:
(b) Case Number:
(c) Date action filed:
(d) Nature of proceeding:

(e) Name(s) of judges (if known):
(i) Grounds raised:

(g) Did you receive an evidentiary hearing on your petition, application or motion?
Yes No

25. Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment attacked herein:

(a) At preliminary hearing ________ Daniel Tl Wi|liams, 110 Juniper St., San Diego, CA 92101
(b) At arraignment and plea _______ Daniel T, Wi|liamsl 110 Juniper St.i San Diego, CA 92101
(c) At trial _____________________ Daniel T, Wi|liams, 110 Juniper St., San Diego, CA 92101
(d) At Sentencing _______________ Daniel T, Wi|liams, 110 Juniper St., San Diego, CA 92101
(e) On appeal __________________ §§ozrge L. Schraer, 5173 Waring Road, #247, San Diego, CA

(f) ln any post-conviction proceeding .

(g) On appeal from any adverse ruling in a post-conviction proceeding:

ClV 68 (Rev. Jan. 2006)
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Case 3:09-cV-02801-WQH-WVG Documentl Filed12/10/09 PagelD.ll Page 11 of 15

 

26. Were you sentenced on more than one count of an indictment, or on more than one
indictment, in the same court and at the same time?
l;;iY€S ft"slNO

27. Do you have any future sentence to serve alter you complete the sentence imposed by the
judgment under attack?
il;§;§iYes tail NO

(a) lf so, give name and location of court that imposed sentence to be served in the future:
(b) Give date and length of the future sentence:

(c) I-lave you filed, or do you contemplate filing, any petition attacking thejudgment which
imposed the sentence to be served in the future?
Yes No

28. Consent to Magistrate .ludge Jurisdiction

in order to insure the just, speedy and inexpensive determination of Section 2254 habeas cases
filed in this district, the parties may waive their right to proceed before a district judge and consent
to magistrate judge jurisdiction. Upon consent of all the parties under 28 U.S.C. § 636(c) to such
jurisdiction, the magistratejudge will conduct all proceedings including the entry of final judgment.
The parties are free to withhold consent without adverse substantive consequences

The Court encourages parties to consent to a magistratejudge as it will likely result in an earlier
resolution of this matter. lf you request that a district judge be designated to decide dispositive
matters, a magistratejudge will nevertheless hear and decide all non-dispositive matters and will hear
and issue a recommendation to the districtjudge as to all dispositive matters.

You may consent to have a magistratejudge conduct any and all further proceedings in this case,
including the entry of final judgment, by indicating your consent»below.

Choose only one of the following:

OR §`5"§§ Plaintiff requests that a districtjudge

‘-~~~ l .» ¢ . l l
l ....... l P amuff consents to maglstrate be designated to decide dispositive

judgejurisdiction as set forth

matters and trial in this case.
above.

29. Date you are mailing (or handing to a correctional officer) this Petition to this court:

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Case 3:09-cV-02801-WQH-WVG Documentl Filed12/10/09 PagelD.lZ Page 12 of 15

 

Wherefore, Petitioner prays that the Court grant Petitioner relief to which he may be entitled in this
proceeding

 

SiGNATURE OF ATrORNEY (iF ANY)

I declare under penalty of perjury that the foregoing wm rid ge .` Ex uted on
,\ h
\Z~/s’/'~aoc)a ` ala /"

(DATE) SioNAMF PEririoNF.R

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, Case 3:09-cV-02801-WQH-WVG Documentl Filed12/10/09 PagelD.lS Page 13 of 15

Court of Appeal, Fourth Appellate District, Div. l - No. DO48456
- S164434

IN THE SUPREME COURT OF CALIFORNIA

En Banc

THE PEOPLE, Plaintiff and Respondent,
v.

PARAKKAMANNIL KOSHY BILJI VARGHESE, Defendant and Appellant.

 

The petition for review is denied.

SUBEEME COURT

Fll_ED

AUG 2 0 2008
Frederick K. Ohlrich Clerl<

Deputy

 

GEORGE

 

Chief Justice

 

 

Case 3:09-cV-02801-WQH-WVG Docu`mentl Filed12/10/09 PagelD.14 Page 14 of 15

Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Wi|linm K. Suter
Clerk of the Court

January 21, 2009 (202) 479-3011

Mr. George L. Schraer
5173 Waring Road
#247

San Diego, CA 92120

Re: Para.kkamannil Kosky Bilji Varghese
Y< Celi_f°rnie_
_N.(,):_OS_HB 16 . . ___aa
Dear Mr. Schraer:

The Court today entered the following order in the above-entitled case:

The petition for a writ of certiorari is denied.

Sincerely,

nara/ala

William K. Suter, Clerk

 

 

(§ase 3: 09- -c\/- 02801- -VVQl-l- -WVG Docurnent 1 Filed 12/10/09 PagelD. 15 Page 15 of 15
0 1 VERIFICATION

sTATE or cALIFORNIA` ) on this day, Listed court Pleadings were civen

COUNTY OF IMPERIAL l ) To Prison Official For Filing/Mailing
( C. C. P. §446 & 2015. 5; 28 U. S. C. §1746

i p,r<m;i<a Md)w~/)r. 1<05514 _
I, F%igjl \quz§erESE; , declare under penalty of perjury that:

I am the'P§Tl'l'lcN§g in the above~'entit:led action; I have read the fore-
going documents an know the contents thereof; and the same is true of

my own knowledge except as to matters stated therein upon information
and belief, and as to those matters, I believe they are true:

Executed this §'Li day of ,/2£££/`4&1.,{§ , 2 09, at Cent:inela
State Prison, P.O. oxg]j, Imperial, Q\I922 l LZ;/ 0

_ l DEcLlRA $/farsoNER_
'K'*r!~~’é*-K-u"c*%*~!'i'--H~'Z'*'I~****-§******-X~:{:%***"‘-*'X'**'Yr

[Signature]

ProoF or sERv;cE sr MAIL
( c.c.P. se¢. §1013 (a) a 2015.5; 28 U.s.c. se¢.§irao.)

I,$E§u<“ \/APQSYMZSE: ', am a resident of Centinela State Prisox
in the County of Imperial, State of California; I am-over-che"age~of ss
eighteen (18) years and am not a party of the above-entitled action. My

state prison address is:

V` 24145%5® ®sE;/EWEF T’O EBC)>< ¢Hll , Imperial, cA 92251.
/`On;DE(”/MP>E::`\L S'TH , `2009 I served the foregoing: l

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(Set forth the exact title of document (s) served. )

on the part (s) herein by placing a true copy (s) thereof, enclosed
in a sealed envelope (s), with postage thereon fully paid, in the
United States Mail, in a deposit box so provided at Centinela State

Prison, P. O. Box j|l ' ,Imperial, CA 2251, addresses:
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There is delivery service by Uni ed States Mail at the so addressed,
and/or thereis regular communica ion by mail between the place of
mailing and the place so addressed. I declare under penalty of perjury

that the foregoing is true and correct qu ///

DECLARAN /PRZSONER

 

based l UCEMBIZK, 57111, 2009

 

 

